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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

 Bahia Amawi,                                                          §
                                          Plaintiff,                   §
                                                                       §
 v.                                                                    §          Civil Action No. 1:18-CV-1091-RP
                                                                       §
 Pflugerville Independent School District; and                         §                        consolidated with:
 Ken Paxton, in his official capacity as                               §
 Attorney General of Texas,                                            §          Civil Action No. 1:18-CV-1100-RP
                               Defendants.                             §

    DEFENDANT KEN PAXTON’S, BOARD OF REGENTS OF THE UNIVERSITY OF HOUSTON
 SYSTEM, AND BOARD OF REGENTS OF THE TEXAS A&M UNIVERSITY SYSTEM’S ANSWER AND
        DEFENSES TO PLUECKER PLAINTIFFS’ COMPLAINT FOR DECLARATORY AND
                               INJUNCTIVE RELIEF

          Defendants Ken Paxton, Attorney General of Texas, the Board of Regents of the University

of Houston System and the Board of Regents of the Texas A&M University System (collectively,

Defendants) respectfully file their Answer to Pluecker Plaintiffs’ Complaint for Declaratory and

Injunctive Relief, Doc. 1, Case No. 1:18-cv-1100-RP (W.D. Tex.).1 In support, they respectfully show

the Court as follows:

                                                  ANSWER TO COMPLAINT

          Pursuant to Federal Rule of Civil Procedure 8(d), Defendants deny each and every allegation

contained in the Complaint except for those expressly admitted herein. The headings and numbered

paragraphs below directly correlate to the sections and numbered paragraphs of the Complaint.

Those titles and headings are reproduced in this Answer for organizational purposes only, and

Defendants do not admit any matter contained therein.

                                                PRELIMINARY STATEMENT

          1.         Paragraph 1 contains assertions of law, conclusory statements, and/or argument to


          1   “Pluecker Plaintiffs” refers to Plaintiffs John Pluecker, Obinna Dennar, Zachary Abdelhadi, and George Hale.



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which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          2.         Defendants admit that House Bill 89 was enacted during the 2017 legislative session.

Defendants deny the remaining allegations in Paragraph 2 of the Complaint.

          3.         Paragraph 3 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          4.         Defendants deny the allegations in Paragraph 4 of the Complaint.

          5.         Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          6.         Paragraph 6 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          7.         With respect to the allegations in Paragraph 7 of the Complaint, including subparts

(a)-(d), Defendants admit that John Pluecker sought contracts with the University of Houston and

that George Hale sought a contract with a National Public Radio member station owned and operated

by Texas A&M University-Commerce. Defendants lack sufficient knowledge or information to form

a belief about the truth of the remaining allegations contained in this Paragraph, and on that basis

deny the allegations in their entirety.

          8.         Paragraph 8 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          9.         Paragraph 9 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations



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requiring a response, Defendants deny the allegations in this Paragraph.

                                                      JURISDICTION AND VENUE

          10.        Defendants admit that Plaintiffs bring this action pursuant to 42 U.S.C. § 1983, but

deny that they have committed any violations of law.

          11.        Paragraph 11 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants admit that, as a general matter, 28 U.S.C. § 1331 grants this Court

jurisdiction to hear federal questions. Defendants deny that Defendants have committed any violation

of applicable law or that Plaintiffs have otherwise demonstrated this Court’s subject matter jurisdiction

over any claims against Defendants.

          12.        Paragraph 12 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          13.        Paragraph 12 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants admit that, as a general matter, 28 U.S.C. § 1391(b) addresses the

appropriate venue for cases over which this Court may have jurisdiction, including that “[a] civil action

may be brought in . . . a judicial district in which a substantial part of the events or omissions giving

rise to the claim occurred, or a substantial part of property that is the subject of the action is situated.”

Defendants deny that they have committed any violation of applicable law.

                                                              PARTIES

          14.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          15.        Defendants lack sufficient knowledge or information to form a belief about the truth



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of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          16.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          17.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          18.        Defendants admit that Ken Paxton is the Attorney General of Texas. The remaining

allegations in Paragraph 18 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          19.        Defendants admit that the Board of Regents of the University of Houston System is

named as a defendant in this matter. The remaining allegations in Paragraph 19 contains assertions of

law, conclusory statements, and/or argument to which no response is required. To the extent that this

Paragraph contains any factual allegations requiring a response, Defendants deny the allegations in

this Paragraph.

          20.        Paragraph 20 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          21.        Paragraph 21 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          22.        Defendants admit that the Board of Regents of the Texas A&M University System is

sued as a defendant in this matter. The remaining allegations in Paragraph 22 contains assertions of

law, conclusory statements, and/or argument to which no response is required. To the extent that this

Paragraph contains any factual allegations requiring a response, Defendants deny the allegations in



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this Paragraph.

                                                         STATEMENT OF FACTS

                                                                  THE ACT

          23.        Paragraph 23 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants admit that this Paragraph reflects the operative version of Chapter

2270 prior to the passage of House Bill 793. Defendants deny that this Paragraph reflects the changes

to Chapter 2270 passed in House Bill 793 and deny the remaining allegations in this Paragraph.

          24.        Defendants admit the allegations in Paragraph 24 of the Complaint.

          25.        Defendants deny the allegations in Paragraph 25 of the Complaint.

          26.        Defendants admit the allegations in Paragraph 26 of the Complaint.

          27.        Defendants admit the allegations in Paragraph 27 of the Complaint.

          28.        Defendants admit that, prior to the passage of House Bill 89, they did not have a policy

or practice of requiring contractors to certify that they would not boycott Israel. Defendants deny the

remaining allegations in Paragraph 28 of the Complaint.

                                                  MR. PLUECKER’S BACKGROUND

          29.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          30.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          31.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          32.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.



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          33.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          34.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                         THE UNIVERSITY OF HOUSTON CONTRACTS

          35.        Defendants admit that Plaintiff Pluecker has previously contracted with the University

of Houston as an independent contractor. Defendants lack sufficient knowledge or information to

form a belief about the truth of the remaining allegations contained in this Paragraph, and on that

basis deny the allegations in their entirety.

          36.        Defendants admit that Plaintiff Pluecker was presented with a Standard Purchasing

Agreement for translation services at a fixed price of $1,500 for an initial term from March 23, 2018

to April 15, 2018. Defendants lack sufficient knowledge or information to form a belief about the

truth of the remaining allegations contained in this Paragraph, and on that basis deny the allegations

in their entirety.

          37.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          38.        Defendant admits that Plaintiff Pluecker did not sign the referenced contract and

crossed out the provision with his initials next to it. Defendants lack sufficient knowledge or

information to form a belief about the truth of the remaining allegations contained in this Paragraph,

and on that basis deny the allegations in their entirety.

          39.        Defendants admit that Plaintiff Pluecker was required to sign the Standard Purchasing

Agreement without redactions which Plaintiff Pluecker refused to do. Defendants lack sufficient

knowledge or information to form a belief about the truth of the remaining allegations contained in

this Paragraph, and on that basis deny the allegations in their entirety.



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          40.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          41.        Defendants admit that Plaintiff Pluecker was presented with a Speaker Agreement

Form in September 2018 to be a speaker for the Department of Modern and Classical Languages for

a fee of $250 and that the form contained a “No Boycott” provision related to Israel. Defendants lack

sufficient knowledge or information to form a belief about the truth of the remaining allegations

contained in this Paragraph, and on that basis deny the allegations in their entirety.

          42.        Defendants admit that Plaintiff Pluecker corresponded with the University of Houston

by email regarding the referenced contract. Defendants lack sufficient knowledge or information to

form a belief about the truth of the remaining allegations contained in this Paragraph, and on that

basis deny the allegations in their entirety.

                                               THE ACT’S EFFECTS ON PLUECKER

          43.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          44.        Paragraph 44 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          45.        Paragraph 45 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          46.        Paragraph 46 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          47.        Paragraph 47 contains assertions of law, conclusory statements, and/or argument to



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which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          48.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          49.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                   MR. DENNAR’S BACKGROUND

          50.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          51.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          52.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                     THE KLEIN ISD CONTRACT

          53.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          54.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          55.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          56.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          57.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.



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                                             THE ACT’S EFFECTS ON MR. DENNAR

          58.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          59.        Paragraph 59 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          60.        Paragraph 60 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          61.        Paragraph 61 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          62.        Paragraph 62 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          63.        Paragraph 63 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          64.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          65.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                 MR. ABDELHADI’S BACKGROUND

          66.        Defendants lack sufficient knowledge or information to form a belief about the truth



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of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          67.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          68.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                 THE LEWISVILLE ISD CONTRACT

          69.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          70.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          71.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          72.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          73.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                           THE ACT’S EFFECTS ON MR. ABDELHADI

          74.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          75.        Paragraph 75 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          76.        Paragraph 76 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations



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requiring a response, Defendants deny the allegations in this Paragraph.

          77.        Paragraph 77 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          78.        Paragraph 78 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          79.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          80.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                      MR. HALE’S BACKGROUND

          81.        Defendants admit that Plaintiff Hale has worked as an independent contractor for

Texas A&M University-Commerce. Defendants lack sufficient knowledge or information to form a

belief about the truth of the remaining allegations contained in this Paragraph, and on that basis deny

the allegations in their entirety.

          82.        Defendants admit that Plaintiff Hale joined KETR in 2016. Defendants lack sufficient

knowledge or information to form a belief about the truth of the remaining allegations contained in

this Paragraph, and on that basis deny the allegations in their entirety.

          83.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          84.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          85.        Defendants lack sufficient knowledge or information to form a belief about the truth



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of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          86.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                 THE TEXAS A&M UNIVERSITY-COMMERCE CONTRACT

          87.        Defendants admit the allegations in Paragraph 87 of the Complaint.

          88.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          89.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          90.        Defendants admit that Plaintiff Hale spoke to a supervisor with respect to the no

boycott Israel clause in his contract. Defendants lack sufficient knowledge or information to form a

belief about the truth of the remaining allegations contained in this Paragraph, and on that basis deny

the allegations in their entirety.

          91.        Defendants admit the allegations in Paragraph 91 of the Complaint.

          92.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          93.        Defendants deny the allegations in Paragraph 93 of the Complaint.

          94.        Defendants admit that Plaintiff Hale signed a contract with Texas A&M University-

Commerce on October 10, 2018. Defendants lack sufficient knowledge or information to form a belief

about the truth of the remaining allegations contained in this Paragraph, and on that basis deny the

allegations in their entirety.

                                                THE ACT’S EFFECTS ON MR. HALE

          95.        Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.



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          96.        Paragraph 96 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          97.        Paragraph 97 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          98.        Paragraph 98 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          99.        Paragraph 99 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          100.       Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

          101.       Defendants lack sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis deny the allegations in their entirety.

                                                           CAUSES OF ACTION

              VIOLATION OF FIRST AND FOURTEENTH AMENDMENT RIGHTS (42 U.S.C. § 1983)

          102.       Defendants repeat and reaffirm their answers to each and every allegation contained

in the paragraphs above and incorporates the same herein as though fully set forth.

          103.       Paragraph 103 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          104.       Paragraph 104 contains assertions of law, conclusory statements, and/or argument to



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which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          105.       Paragraph 105 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          106.       Paragraph 106 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          107. Paragraph 107 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          108.       Paragraph 108 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          109.       Paragraph 109 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          110.       Paragraph 110 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.

          111.       Paragraph 111 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendants deny the allegations in this Paragraph.




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                                                         REQUEST FOR RELIEF

          Defendants deny that any relief sought by Plaintiffs in paragraphs (A)-(E) in the “Request for

Relief” section of their Complaint is appropriate or warranted.

                                                                 DEFENSES

Defendants assert the following defenses:

          1.         Defendants assert the defense of Eleventh Amendment immunity to all claims to

which that defense applies.

          2.        Defendants assert that Plaintiffs lack standing to pursue any of their claims against

Defendants.

          3.         Defendants assert that Plaintiffs’ claims against Defendants are moot.

          4.        Defendants assert that Plaintiffs have failed to state claims upon which relief can be

granted.

          5.         Defendants assert that they have fully complied with all applicable laws.

          6.         Defendants reserve the right to raise additional affirmative defenses as they become

apparent during the development of the case.

                                                                   PRAYER

          Defendants pray that Plaintiffs take nothing by this suit, that all costs be taxed and adjudged

against Plaintiffs, and that Defendants be granted such other relief to which it may be justly entitled.




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                                                                    Respectfully submitted.

                                                                    KEN PAXTON
                                                                    Attorney General of Texas

                                                                    JEFFREY C. MATEER
                                                                    First Assistant Attorney General

                                                                    DARREN L. MCCARTY
                                                                    Deputy Attorney General for Civil Litigation

                                                                    AMANDA J. COCHRAN-MCCALL
                                                                    Chief for General Litigation Division

                                                                    /s/ Michael R. Abrams
                                                                    MICHAEL R. ABRAMS
                                                                    Texas Bar No. 24087072
                                                                    Assistant Attorney General
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                                                                    Randall.Miller@oag.texas.gov

                                                                    Counsel for Ken Paxton, the Board of Regents
                                                                    of Texas A&M System and the Board of
                                                                    Regents of the University of Houston System




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                                             CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served upon Plaintiffs’
 counsel of record through the Court’s electronic filing system on May 9, 2019.

                                                                         /s/ Michael R. Abrams
                                                                         MICHAEL R. ABRAMS




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